Case 3:22-cr-30002-PKH Document1 Filed 03/02/22 Page 1 of 3 Ragelly tet Ankawsas

FILED
MAR 02 2022
IN THE UNITED STATES DISTRICT COURT JAMIE GIANI, Clerk
WESTERN DISTRICT OF ARKANSAS By Deputy Clerk
HARRISON DIVISION
27 |
UNITED STATES OF AMERICA ) Case No. 5 ‘GO C0 JW +
) 21 U.S.C. § 841(a)(1)
VS. ) 21 U.S.C. § 841(b)(1)(B) (viii)
) 21 U.S.C. § 846
GARRETT COLBY ANGEL )
INDICTMENT
The Grand Jury Charges:
COUNT ONE

Beginning on or about an unknown date, but at least as early as August 11, 2021, and
continuing to on or about August 17, 2021, in the Western District of Arkansas, Harrison Division,
and elsewhere, the Defendant, GARRETT COLBY ANGEL, and others known and unknown to
the Grand Jury, did knowingly and intentionally combine, conspire, confederate and agree with
others known and unknown to the Grand Jury to distribute a mixture or substance that contained a
detectible amount of methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Section 841(a)(1) and Title 21, United

States Code, Section 846.

COUNT TWO
On or about August 17, 2021, in the Western District of Arkansas, Harrison Division, the
defendant, GARRETT COLBY ANGEL, knowingly possessed with intent to distribute a
controlled substance, namely, more than five (5) grams of methamphetamine, a Schedule II

controlled substance.
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All in violation of Title 21, United States Code, Section 841(a)(1) and Title 21, United
States Code, Section 841(b)(1)(B)(viii).

NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

The allegations contained in Counts One and Two of this Indictment are hereby re-alleged
and incorporated by reference for the purpose of alleging forfeitures pursuant to Title 21, United
States Code, Section 853.

Pursuant to Title 21, United States Code, Section 853, upon conviction of an offense in
violation of Title 21, United States Code, Sections 841, the defendant, GARRETT COLBY
ANGEL, shall forfeit to the United States of America any property constituting, or derived from,
any proceeds obtained, directly or indirectly, as the result of such offense[s] and any property used,
or intended to be used, in any manner or part, to commit, or to facilitate the commission of, the
offense(s). The property to be forfeited includes, but is not limited to, the following:

a. A money judgment;
Moreover, if any property subject to forfeiture, as a result of any act or omission by the defendant:

(a) Cannot be located upon the exercise of due diligence;

(b) Has been transferred or sold to, or deposited with a third party;

(c) Has been placed beyond the jurisdiction of the court;

(d) Has been substantially diminished in value; or

(e) Has been commingled with other property which cannot be subdivided without

difficulty;
the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p).
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A true bill. DAVID CLAY FOWLKES

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